          Case 2:17-cv-00190-WS-M Document 1 Filed 05/02/17 Page 1 of 8




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     J & J Sports Productions, Inc.
 8
                                      UNITED STATES DISTRICT COURT
 9
                                     SOUTHERN DISTRICT OF ALABAMA
10                                         NORTHERN DIVISION

11   J & J Sports Productions, Inc.,                       Case No.: 2:17-cv-00190

12                      Plaintiff,
                                                           COMPLAINT
13
                 vs.
14
     Michael L. Johnson, individually and d/b/a
15   Selma Avenue Bar & Grill; and Selma Avenue
     Bar and Grill, LLC, and unknown business entity
16   d/b/a Selma Avenue & Grill,
17
                        Defendants.
18
19
     PLAINTIFF ALLEGES:
20

21                                           JURISDICTION
22

23   1.       Jurisdiction is founded on the existence of a question arising under particular statutes. This
     action is brought pursuant to several federal statutes, including the Communications Act of 1934, as
24
     amended, Title 47 U.S.C. 605, et seq., and The Cable & Television Consumer Protection and
25
     Competition Act of 1992, as amended, Title 47 U.S. Section 553, et seq.
26
27   2.       This Court has jurisdiction of the subject matter of this action pursuant to 28 U.S.C. Section
28

                                                      Page 1
          Case 2:17-cv-00190-WS-M Document 1 Filed 05/02/17 Page 2 of 8



     1331, which states that the District Courts shall original jurisdiction of all civil actions arising under
 1
     the Constitution, laws, or treaties, of the United States. This Court has subject matter jurisdiction
 2
     over the state law claims pursuant to 28 U.S.C. § 1367 (supplemental jurisdiction).
 3

 4   3.        This Court has personal jurisdiction over the parties in this action as a result of the
 5   Defendants’ wrongful acts hereinafter complained of which violated the Plaintiff's rights as the

 6   exclusive commercial domestic distributor of the televised fight Program hereinafter set forth at
     length.    The Defendants’ wrongful acts consisted of the interception, reception, publication,
 7
     divulgence, display, exhibition, and tortious conversion of said property of Plaintiff within the
 8
     control of the Plaintiff in the State of Alabama.
 9

10
                                                     VENUE
11
     4.        Pursuant to Title 47 U.S.C. Section 605, venue is proper in the Southern District of Alabama,
12
     because a substantial part of the events or omissions giving rise to the claim occurred in this District.
13

14
                                     INTRADISTRICT ASSIGNMENT
15
     5.        Assignment to the Northern Division of the Southern District of Alabama is proper
16
     because a substantial part of the events or omissions giving rise to the claim occurred in Dallas
17
     County and/or the United States District Court for the Southern District of Alabama has decided
18
     that suits of this nature, and each of them, are to be heard by the Courts in this particular Division.
19

20                                              THE PARTIES
21   6.        Plaintiff, J & J Sports Productions, Inc. is, and at all relevant times mentioned was, a
     California corporation with its principal place of business located at 950 South Bascom Avenue,
22
     Suite 3010,San Jose, California 95128.
23

24
     7.      Defendant Selma Avenue Bar and Grill, LLC, is specifically identified as the owner of the
25   commercial establishment doing business as Selma Avenue Bar and Grill operating at 189 Selma
26   Avenue, Selma, Alabama 36703 on the State of Alabama Alcohol Beverage Control Board Liquor
27   License (Liquor License No. 010140024).

28   ///

                                                         Page 2
          Case 2:17-cv-00190-WS-M Document 1 Filed 05/02/17 Page 3 of 8



     8.       Defendant Michael L. Johnson is the sole individual specifically identified on the State of
 1
     Alabama License Renewal Receipt issued for Selma Avenue Bar and Grill (Receipt No.
 2
     20130731000004642).
 3

 4   9.       Plaintiff is informed and believes, and alleges thereon that on Saturday, May 3, 2014 (the
 5   night of the Program at issue herein, as more specifically defined in Paragraph 16), Defendant

 6   Michael L. Johnson had the right and ability to supervise the activities of Selma Avenue Bar and
     Grill, which included the unlawful interception of Plaintiff’s Program.
 7

 8
     10.      Plaintiff is informed and believes, and alleges thereon that on Saturday, May 3, 2014 (the
 9
     night of the Program at issue herein, as more specifically defined in Paragraph 16), Defendant
10   Michael L. Johnson, as an individual specifically identified on State of Alabama License Renewal
11   Receipt issued for Selma Avenue Bar and Grill, had the obligation to supervise the activities of
12   Selma Avenue Bar and Grill, which included the unlawful interception of Plaintiff’s Program, and,
     among other responsibilities, had the obligation to ensure that the business permit was not used in
13
     violation of law.
14

15
     11.      Plaintiff is informed and believes, and alleges thereon that on Saturday, May 3, 2014 (the
16   night of the Program at issue herein, as more specifically defined in paragraph 16), Defendant
17   Michael L. Johnson specifically directed or permitted the employees of Selma Avenue Bar and Grill
18   to unlawfully intercept and broadcast Plaintiff’s Program at Selma Avenue Bar and Grill, or

19   intentionally intercepted, and/ or published the Program at Selma Avenue Bar and Grill himself.
     The actions of the employees of Selma Avenue Bar and Grill are directly imputable to Defendant
20
     Michael L. Johnson by virtue of his acknowledged responsibility for the operation of Selma Avenue
21
     Bar and Grill.
22

23   12.      Plaintiff is informed and believes, and alleges thereon that on Saturday, May 3, 2014,
24   Defendant Michael L. Johnson as a managing member of Selma Avenue Bar and Grill, LLC, and an

25   individual specifically identified on the State of Alabama License Renewal Receipt issued for Selma
     Avenue Bar and Grill, had an obvious and direct financial interest in the activities of Selma Avenue
26
     Bar and Grill, which included the unlawful interception of Plaintiff’s Program.
27
     ///
28

                                                     Page 3
       Case 2:17-cv-00190-WS-M Document 1 Filed 05/02/17 Page 4 of 8



     13.     Plaintiff is informed and believes, and alleges thereon that the unlawful broadcast of
 1
     Plaintiff’s Program, as supervised, and/or authorized, and/or permitted, and/or ratified by Defendant
 2
     Michael L. Johnson resulted in increased profits for Selma Avenue Bar and Grill.
 3

 4   14.     Plaintiff is informed and believes, and alleges thereon that Defendant, Selma Avenue Bar
 5   and Grill, LLC is an owner, and/or operator, and/or licensee, and/or permittee, and/or person in

 6   charge, and/or an individual with dominion, control, oversight and management of the commercial
     establishment doing business as Selma Avenue Bar and Grill operating at 189 Selma Avenue,
 7
     Selma, Alabama 36703
 8

 9                                                  COUNT I

10                                (Violation of Title 47 U.S.C. Section 605)

11
     15.     Plaintiff J & J Sports Productions, Inc., hereby incorporates by reference all of the allegations
12   contained in paragraphs 1-14, inclusive, as though set forth herein at length.
13
     16.     Pursuant to contract, Plaintiff J & J Sports Productions, Inc., was granted the exclusive
14
     nationwide commercial distribution (closed-circuit) rights to Floyd Mayweather, Jr. v. Marcos Rene
15
     Maidana WBC Welterweight Championship Fight Program, telecast nationwide on Saturday, May
16   3, 2014 (this included all under-card bouts and fight commentary encompassed in the television
17   broadcast of the event, hereinafter referred to as the "Program").
18
19   17.     Pursuant to contract, Plaintiff J & J Sports Productions, Inc., entered into subsequent
     sublicensing agreements with various commercial entities throughout North America, including
20
     entities within the State of Alabama, by which it granted these entities limited sublicensing rights,
21
     specifically the rights to publicly exhibit the Program within their respective commercial
22
     establishments in the hospitality industry (i.e., hotels, racetracks, casinos, bars, taverns, restaurants,
23   social clubs, etc.).
24

25   18.     As a commercial distributor and licensor of sporting events, including the Program, Plaintiff
     J & J Sports Productions, Inc., expended substantial monies marketing, advertising, promoting,
26
     administering, and transmitting the Program to its customers, the aforementioned commercial
27
     entities.
28

                                                       Page 4
       Case 2:17-cv-00190-WS-M Document 1 Filed 05/02/17 Page 5 of 8



     19.     With full knowledge that the Program was not to be intercepted, received, published,
 1
     divulged, displayed, and/or exhibited by commercial entities unauthorized to do so, each and every
 2
     one of the above named Defendants, either through direct action or through actions of employees or
 3   agents directly imputable to Defendants (as outlined in Paragraphs 7-14 above), did unlawfully
 4   intercept, receive, publish, divulge, display, and/or exhibit the Program at the time of its
 5   transmission at their commercial establishment in Selma, Alabama located at 189 Selma Avenue,

 6   Selma, Alabama 36703.

 7
     20.     Said unauthorized interception, reception, publication, exhibition, divulgence, display,
 8
     and/or exhibition by each of the Defendants was done willfully and for purposes of direct and/or
 9
     indirect commercial advantage and/or private financial gain.
10

11   21.     Title 47 U.S.C. Section 605, et seq., prohibits the unauthorized publication or use of
12   communications (such as the transmission of the Program for which Plaintiff J & J Sports
     Productions, Inc., had the distribution rights thereto).
13

14
     22.     By reason of the aforesaid mentioned conduct, the aforementioned Defendants, and each of
15
     them, violated Title 47 U.S.C. Section 605, et seq.
16

17   23.     By reason of the Defendants’ violation of Title 47 U.S.C. Section 605, et seq., Plaintiff J &
18   J Sports Productions, Inc., has the private right of action pursuant to Title 47 U.S.C. Section 605.

19
     24.     As the result of the aforementioned Defendants’ violation of Title 47 U.S.C. Section 605,
20
     and pursuant to said Section 605, Plaintiff J & J Sports Productions, Inc., is entitled to the following
21
     from each Defendant:
22

23                    (a)    Statutory damages for each violation of in an amount to $10,000 pursuant to
24                           Title 47 U.S.C. Section 605(e)(3)(C)(i)(II); and also

25
                     (b)     Statutory damages for each willful violation in an amount to
26
                             $100,000.00 pursuant to Title 47 U.S.C. 605(e)(3)(C)(ii), and also
27
     ///
28

                                                       Page 5
       Case 2:17-cv-00190-WS-M Document 1 Filed 05/02/17 Page 6 of 8



                     (c)     the recovery of full costs, including reasonable attorneys’ fees, pursuant to
 1
                             Title 47 U.S.C. Section 605(e)(3)(B)(iii).
 2

 3           WHEREFORE, Plaintiff prays for judgment as set forth below.
 4                                                 COUNT II
 5                                (Violation of Title 47 U.S.C. Section 553)

 6
     25.     Plaintiff's hereby incorporates by reference all of the allegations contained in paragraphs 1-
 7
     24, inclusive, as though set forth herein at length.
 8

 9
     26.     The unauthorized interceptions, reception, publication, divulgence, display, and/or
10   exhibition of the Program by the above named Defendants was prohibited by Title 47 U.S.C. Section
11   553, et seq.
12
     27.     By reason of the aforesaid mentioned conduct, the aforementioned Defendants, and each of
13
     them, violated Title 47 U.S.C. Section 553, et seq.
14

15
     28.     By reason of the Defendants’ violation of Title 47 U.S.C. Section 553, et seq., Plaintiff J &
16   J Sports Productions, Inc., has the private right of action pursuant to Title 47 U.S.C. Section 553.
17
     29.     As the result of the aforementioned Defendants’ violation of Title 47 U.S.C. Section 553,
18
     Plaintiff J & J Sports Productions, Inc., is entitled to the following from each Defendant:
19

20                   (a)     Statutory damages for each violation in an amount to
21                           $10,000.00 pursuant to Title 47 U.S.C. § 553(c)(3)(A)(ii); and also
22

23                   (b)     Statutory damages for each willful violation in an amount to
                             $50,000.00 pursuant to Title 47 U.S.C. § 553(c)(3)(B); and also
24

25
                     (c)     the recovery of full costs pursuant to Title 47 U.S.C. Section 553
26                   (c)(2)(C); and also
27

28

                                                      Page 6
       Case 2:17-cv-00190-WS-M Document 1 Filed 05/02/17 Page 7 of 8



                  (d)     and in the discretion of this Honorable Court, reasonable attorneys’
 1
                          fees, pursuant to Title 47 U.S.C. Section 553 (c)(2)(C).
 2

 3         WHEREFORE, Plaintiff prays for judgment as set forth below.
 4

 5         As to the First Count:

 6
           1.     For statutory damages in the amount of $110,000.00 against the Defendants,
 7
                 and each of them, and
 8
           2.     For reasonable attorneys’ fees as mandated by statute, and
 9
           3.     For all costs of suit, including but not limited to filing fees, service of
10                process fees, investigative costs, and
11         4.     For such other and further relief as this Honorable Court may deem just
12                and proper;

13

14         As to the Second Count:

15
           1.    For statutory damages in the amount of $60,000.00 against the Defendants,
16
                 and each of them, and;
17
           2.     For reasonable attorneys’ fees as may be awarded in the Court’s
18                discretion pursuant to statute, and;
19         3.     For all costs of suit, including but not limited to filing fees, service
20                of process fees, investigative costs, and;

21         4.     For such other and further relief as this Honorable Court may deem just
                  and proper.
22
     ///
23
     ///
24   ///
25   ///
26   ///

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                                                    Page 7
      Case 2:17-cv-00190-WS-M Document 1 Filed 05/02/17 Page 8 of 8



                                 Respectfully submitted,
 1

 2

 3
     Date: May 2, 2017           /s/ Thomas P. Riley
 4                               LAW OFFICES OF THOMAS P. RILEY, P.C.
                                 By: Thomas P. Riley
 5                               Attorneys for Plaintiff
                                 J & J Sports Productions, Inc.
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                                         Page 8
